Case 5:16-cv-10444-JEL-MKM ECF No. 452 filed 04/17/18   PageID.14590   Page 1 of 4




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


 In re Flint Water Cases.               Judith E. Levy
                                        United States District Judge
 ________________________________/

 This Order Relates To:

 ALL CASES

 ________________________________/

   ORDER REGARDING MATTERS DISCUSSED AT THE APRIL
             16, 2018 STATUS CONFERENCE

       The Court held a status conference regarding its pending Flint

 water litigation on February 20, 2018. The Court now orders as follows:

       Discovery Issues

       The Court discussed the submissions regarding preliminary

 discovery issues during an in-chambers meeting and on the record at

 the status conference. Interim Co-Lead Class Counsel, Individual Co-

 Liaison Counsel, and counsel for all defendants will exchange four total

 proposed documents-only third-party subpoenas on April 23, 2018,

 with plaintiffs’ counsel sending two to defendants, and defendants

 sending two to plaintiffs’ counsel. Each side will send responses to the
Case 5:16-cv-10444-JEL-MKM ECF No. 452 filed 04/17/18   PageID.14591   Page 2 of 4




 other, including proposed revisions or additions, on or before April 30,

 2018. The parties will file the four proposed subpoenas on the docket of

 Case No. 16-cv-10444 by May 7, 2018, for the Court’s review. If the

 parties cannot come to an agreement, they will file their objections

 along with the proposed subpoenas.

       Costs of these proposed subpoenas will be split evenly, with

 Interim Co-Lead Class Counsel and Individual Co-Liaison Counsel

 paying half on one side, and defendants paying half on the other, and

 the parties on each side determining between themselves how to further

 apportion the costs of the subpoenas.

       Counsel for the individual governmental defendants and the state

 of Michigan are to submit proposed orders indicating they have not

 waived their Fifth and Eleventh Amendment immunity defenses by

 participating in this limited preliminary discovery on or before April

 30, 2018.

       Time and Expense Orders

       Interim Co-Lead Class Counsel and Individual Co-Liaison Counsel

 are to file their proposed time and expense orders on the docket of Case

 No. 16-cv-10444 by close of business on April 18, 2018. Defendants


                                       2
Case 5:16-cv-10444-JEL-MKM ECF No. 452 filed 04/17/18   PageID.14592   Page 3 of 4




 may file briefs responding to the proposed time and expense orders, if

 they so choose, by April 30, 2018. The Court will issue a final time and

 expense order in due course, following review of the submissions and

 responses.

       Motion to Reinstate in Atkins

       The parties are to meet and confer regarding resolution of this

 motion and advise the Court of their agreed-upon course of action

 through a proposed order, to be submitted by April 30, 2018.

       Pleading of Injuries in Short-Form Cases

       Individual Co-Liaison Counsel are to meet and confer with other

 individual plaintiffs’ counsel and defendants to remedy any pleading

 defects in filed short-form complaints.      The revised Alexander short-

 form complaint should be filed by April 30, 2018.

       Motion to Appoint Interim Lead Counsel in Boler

       The Court will issue a separate order on the docket of Boler v.

 Snyder, Case No. 16-cv-10323, denying this motion, consolidating Boler

 with Carthan v. Snyder, Case No. 16-cv-10444, and granting leave for

 the Boler plaintiffs to file a motion to amend the Master Class Action

 Complaint in Carthan.


                                       3
Case 5:16-cv-10444-JEL-MKM ECF No. 452 filed 04/17/18   PageID.14593   Page 4 of 4




       Date of Next Status Conference and Motion to Dismiss
       Hearing in Carthan

       Due to the unavailability of certain counsel, the motion to dismiss

 hearing in Carthan will be reset for a date and time when all counsel

 are available. Counsel in Carthan will confer and provide the Court

 with potential dates by April 20, 2018.

       The next status conference will be held on the date previously

 reserved for the motion to dismiss hearing, June 18, 2018, at 2 P.M.

       IT IS SO ORDERED.

 Dated: April 17, 2018                     s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge

                       CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on April 17, 2018.

                                           s/Shawna Burns
                                           SHAWNA BURNS
                                           Case Manager




                                       4
